         Case 1:24-cv-10299-JEK Document 109 Filed 03/25/24 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 DRAFTKINGS INC.,

                Plaintiff,

        v.

 MICHAEL HERMALYN,

                Defendant.                               Civil Action No. 1:24-cv-10299-JEK


      PLAINTIFF DRAFTKINGS INC.’S MOTION TO STRIKE DEFENDANT’S
    OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff DraftKings Inc. (“DK”) respectfully moves to strike Defendant’s Opposition to

Plaintiff’s Motion for Preliminary Injunction, ECF 101 (“Opposition”), and the three appendices

accompanying the Opposition (ECF 101-1; 101-2; 102). The Opposition violates this Court’s

Rules by including pages of single-spaced bullets points, three “appendices” containing factual

and legal argument, and a “table of abbreviations.”        Properly formatted and counting the

appendices and table, Defendant’s filing exceeds 52 pages—far in excess of the expanded 30-page

limit to which the parties agreed and that this Court ordered—and more than 70% longer than

DK’s Memorandum of Law in Support of its Motion for Preliminary Injunction. DK respectfully

requests a ruling as soon as practicable because DK’s reply papers are due this Thursday, March

28, 2024.

       Page limits are not formalistic prescriptions; they serve vital functions in our adversarial

system. First, page limits are “important to maintain judicial efficiency and ensure fairness,”

forcing the parties to focus their arguments. In re MacIntyre, 181 B.R. 420, 422 (B.A.P. 9th Cir.

1995) (imposing sanctions), aff’d, 77 F.3d 489 (9th Cir. 1996). Second, such limits ensure parity


                                                    1
         Case 1:24-cv-10299-JEK Document 109 Filed 03/25/24 Page 2 of 6




and comity among the parties. See In re 5-hour Energy Mktg. & Sales Pracs. Litig., 2014 WL

12819812, at *1 (C.D. Cal. June 20, 2014) (“[A]ttempt[s] to circumvent the agreed-upon and

ordered page limit … put Plaintiffs, who complied with the page limit, at a clear disadvantage.”).

And third, page limits form a crucial part of our legal system’s procedural rules, rules that “were

not adopted for the purpose of one side abiding by them while the other side flouts them.” Ramos-

López v. United States, 2024 WL 531277, at *7 (D.P.R. Feb. 8, 2024). Courts in this district

regularly sanction parties who, like Defendant, attempt to secure an advantage by violating page

limits imposed on both parties. See, e.g., Syrjala v. Town of Grafton, 2020 WL 1429854 (D. Mass.

Mar. 24, 2020) (striking a filing “for failure to follow this Court’s LR., D. Mass. 7.1 which require

court filings to be double spaced”); Vaks v. Quinlan, 2020 WL 905523, at *1–2 (D. Mass. Feb. 24,

2020) (striking “documents … filed to evade page limitations in the Local Rules”).

       The Court should strike Defendant’s Opposition and its three appendices and assess fees

for the cost of bringing this motion. See id.; 28 U.S.C. § 1927. Alternatively, the Court should

order Defendant to file a conforming brief by noon ET tomorrow, March 26, 2024, so that DK has

a fair opportunity to respond in its forthcoming reply brief.

                                               ***

       Parties “must comply with all of the Local Rules, including those regarding page limits and

line spacing.” Lowney v. Harmon L. Offs., P.C., 2018 WL 11419938, at *1 (D. Mass. Feb. 9,

2018). “Memoranda supporting or opposing allowance of motions shall not, without leave of

court, exceed 20 pages, double-spaced.” Local Rule 7.1(b)(4) (emphasis added). Here, this Court

permitted 30-page double-spaced briefs. See ECF 62. The rules are clear: “All documents, except

discovery requests and responses, shall be double-spaced except for the identification of counsel,

title of the case, footnotes, quotations and exhibits.” Local Rule 5.1(a)(2) (emphases added).



                                                     2
         Case 1:24-cv-10299-JEK Document 109 Filed 03/25/24 Page 3 of 6




       The Opposition concludes on page “30.” But it gets there by using pages of single-spaced

bullet points that fall under none of Rule 5.1(a)(2)’s exceptions. See Opp. 1–2, 10, 11, 17–18, 19–

21, 27–29. Defendant also includes twelve additional pages in three appendices: “[d]escription[s]”

of facts, ECF 101-2; “[r]esponses” to DK’s motion, ECF 101-1; and “[e]xplanation[s]” for his

opposition to DK’s proposed PI “in [the] event the Court enters injunctive relief,” ECF 102

(capitalization modified). And, rather than provide full document citations in accordance with

Bluebook B17.1, Defendant exploits a two-page “Table of Abbreviations.” ECF 101 at viii–ix.

       Parties cannot circumvent page limits by “squeez[ing] … arguments into single-spaced

bullet points.” Patrick v. City of Chicago, 2018 WL 3438942, at *14 n.10 (N.D. Ill. July 17,

2018). 1 Using “less than double spacing of body text may be viewed by the court as an attempt to

evade page limits.” Lowney, 2018 WL 11419938, at *1; accord Syrjala, 2020 WL 1429854, at *3

(striking when party “utilized single line spacing on 33 of the 44 pages of his filing”). Nor may a

party use appendices to add additional pages over the limit; this is a “violation of Local Rule 7.1’s

limit on the length of filings.” Obele v. Town of Brookline, 2021 WL 828412, at *8 (D. Mass.

Mar. 4, 2021). It is “difficult to view” Defendant’s “appendi[ces] as anything other than an

unsubtle vehicle for deliberately circumventing the page limits imposed on the parties’ briefing.”

Todd v. Tempur-Sealy Int’l, Inc., 2016 WL 5746364, at *4 n.3 (N.D. Cal. Sept. 30, 2016) (appendix

“presented as a chart consisting of three columns: quotations from [other parties’] response brief,

citations to relevant deposition testimony, and [filing parties’] own argumentative responses”).

       To ascertain whether Defendant violated the page limits, the Court may properly format



1
 Accord Moniz v. Serv. King Paint & Body, LLC, 2022 WL 411156, at *5 (N.D. Cal. Feb. 10,
2022) (“improperly spaced text” can “circumvent … page limits”); Everlight Elecs. Co. v. Nichia
Corp., No. 4:12-cv-11758, ECF 307 at 2–3 (E.D. Mich. June 18, 2014) (striking brief without
double-spacing; with proper spacing “brief would have been 56 pages rather than 50 pages”).

                                                     3
         Case 1:24-cv-10299-JEK Document 109 Filed 03/25/24 Page 4 of 6




the text and assess the length. See, e.g., Est. of Miller v. Cnty. of Sutter, 2020 WL 6392565, at *3

n.2 (E.D. Cal. Oct. 30, 2020). Correctly formatted, and with appendices, the Opposition is 53

pages, far longer the 30-page limit permitted by the Court. 2 See Spencer Decl. Ex. A.

       Briefs that do not comply with Local Rules may be stricken. Syrjala, 2020 WL 1429854,

at *3; see also Stroman v. Bristol Cnty. Dist. Attorney’s Off., 2023 WL 5899093, at *3 (D. Mass.

Sept. 11, 2023) (“The Court will strike any amended complaint that does not comply with these

page limits.”); Est. of Miller, 2020 WL 6392565, at *3 n.2 (If a brief “includes several paragraphs

of single spaced text that, if properly double-spaced, would likely have caused that brief to exceed

the page limits,” it “may be stricken.”). A court may also impose monetary sanctions for

violations. See, e.g., Kano v. Nat’l Consumer Coop. Bank, 22 F.3d 899, 899–900 (9th Cir. 1994)

(sanctions because brief had “lines [that] were not double-spaced,” and noting 28 U.S.C. § 1927

“authorize[s] sanctions for failure to comply with rules governing form of briefs”). Even when a

filing is “technically within the []page limit,” courts may choose to “not consider” arguments in

filings which “skirt[] the purpose of the page limitation.” Humana Inc. v. Mallinckrodt ARD LLC,

2020 WL 5640553, at *13 (C.D. Cal. Aug. 14, 2020). Such sanctions are warranted here.

                                               ***

       DK respectfully requests that the Court strike Defendant’s Opposition and its three

appendices and impose any other appropriate sanctions, including fees and costs incurred in




2
  The 53-page calculation does not factor in Defendant’s other machinations. Defendant
manipulates margins, using only 0.8” Top and Bottom margins. He also appears to have deleted
spaces between sentences to create more room. When these tactics are reversed, and the
Opposition is formatted with 1.0” margins in Word, it does not match the pagination of the filed
Opposition, indicating Defendant may have manipulated the text in other ways that are difficult to
detect.

                                                     4
           Case 1:24-cv-10299-JEK Document 109 Filed 03/25/24 Page 5 of 6




bringing this Motion. See Local Rule 1.3. 3 Alternatively, the Court should order Defendant to file

a conforming brief by noon ET tomorrow, March 26, 2024, so that DK has a fair opportunity to

respond.

    Dated: March 25, 2024                     Respectfully submitted,

                                              /s/ Andrew S. Dulberg
                                              William F. Lee (BBO #291960)
                                              Andrew S. Dulberg (BBO #675405)
                                              WILMER CUTLER PICKERING
                                                  HALE AND DORR LLP
                                              60 State Street
                                              Boston, MA 02109
                                              Telephone: (617) 526-6000
                                              william.lee@wilmerhale.com
                                              andrew.dulberg@wilmerhale.com

                                              GIBSON, DUNN & CRUTCHER LLP
                                              Orin Snyder (pro hac vice)
                                              Harris M. Mufson (pro hac vice)
                                              Justine M. Goeke (pro hac vice)
                                              Justin M. DiGennaro (pro hac vice)
                                              200 Park Avenue
                                              New York, NY 10166-0193
                                              Tel: 212.351.4000
                                              Fax: 212.351.4035
                                              OSnyder@gibsondunn.com
                                              HMufson@gibsondunn.com
                                              JGoeke@gibsondunn.com
                                              JDiGennaro@gibsondunn.com

                                              Jason C. Schwartz (pro hac vice)
                                              Jacob T. Spencer (pro hac vice)
                                              1050 Connecticut Avenue, N.W.
                                              Washington, D.C. 20036
                                              Tel: 202.955.8500
                                              JSchwartz@gibsondunn.com
                                              JSpencer@gibsondunn.com
                                              Attorneys for Plaintiff DraftKings Inc.



3
  Defendant’s Opposition should be stricken for the foregoing reasons. If the Court denies DK’s
request and is inclined to consider Defendant’s over-sized brief and appendices, DK respectfully
submits it should be given an expanded opportunity on reply to address Defendant’s arguments.
                                                    5
         Case 1:24-cv-10299-JEK Document 109 Filed 03/25/24 Page 6 of 6




                                LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I hereby certify that, on March 25, 2024, counsel for

 the parties have conferred on the subject of Plaintiff’s Motion to Strike Defendant’s Opposition

 to Plaintiff’s Motion for Preliminary Injunction. Counsel were unable to resolve the issue.

                                                       /s/ Jacob T. Spencer
                                                       Jacob T. Spencer



                                CERTIFICATE OF SERVICE

       I, Andrew S. Dulberg, counsel for Plaintiff, hereby certify that this document has been filed

through the Court’s ECF system and will be sent electronically to the registered participants as

identified on the Notice of Electronic Filing (NEF).

                                                       /s/ Andrew S. Dulberg
                                                       Andrew S. Dulberg




                                                       6
